Case 1:23-cv-21065-CMA Document 43 Entered on FLSD Docket 06/14/2023 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                         CASE NO: 1:23-cv-21065-ALTONAGA/Damian

  JONATHAN CONDE BLACKBURN, on behalf of himself
  and all others similarly situated,
         Plaintiffs,
         v.
  CDJ OF 152ND ST MAIMI LLC d/b/a
  CRAB DU JOUR, et. al.,
         Defendants.
                                         /
          PLAINTIFF’S NOTICE OF ACCEPTANCE OF OFFER OF JUDGMENT
         Plaintiff, JONATHAN CONDE BLACKBURN (“Plaintiff”), by and through undersigned
  counsel and pursuant to Fed. R. Civ. P. 68 hereby accepts and provides notice that he has accepted
  the Rule 68 Offer of Judgment to Plaintiff served by Defendants, CDJ OF 152ND ST MIAMI LLC
  d/b/a CRAB DU JOUR, JONATHAN PAPAGNO, and YIHUA WENG, dated June 12, 2023. A
  copy of the Rule 68 Offer of Judgment to Plaintiff is attached hereto as Ex. A. The Rule 68 Offer
  of Judgment to Plaintiff is made to resolve “alleged unpaid minimum and overtime wages (and
  tips) under the FLSA and for unpaid minimum wages under the FMWA.” Id.
         Plaintiff requests for the Clerk to enter judgment in favor of Plaintiff, JONATHAN
  CONDE BLACKBURN, and against Defendants, CDJ OF 152ND ST MIAMI, LLC, YIHUA
  WENG, and JONATHAN PAPGNO, as to Counts I, II, III, IV, V, VI, VII, VIII, IX, and XI of the
  Plaintiff’s operative Complaint.1
         Dated this 14th of June 2023.



  1
    The Rule 68 Offer of Judgment is completely silent as to the FLSA Retaliation claim set forth
  within Count X of the operative Complaint. See Ex. A; D.E. 37, pp.56-57. No relief whatsoever
  has been offered by Defendants as it pertains to Count X and the FLSA Retaliation claim is
  therefore not mooted by Plaintiff’s acceptance of the Rule 68 Offer of Judgment. See Utility
  Automation 2000, Inc. v. Choctawhatchee Elec. Co-Op., Inc., 298 F.3d 1238 (11th Cir. 2000)
  (“Rule 68 requires that the responsibility for clarity and precision in the offer must reside with the
  offeror”). Moreover, Plaintiff requests that this Honorable Court retain jurisdiction to adjudicate
  the Plaintiff’s entitlement to attorney fees and costs per the terms of the Offer of Judgment served
  by Defendants.
Case 1:23-cv-21065-CMA Document 43 Entered on FLSD Docket 06/14/2023 Page 2 of 2




                                                Respectfully Submitted,

  USA EMPLOYMENT LAWYERS -                      OBEIDY & ASSOCIATES, P.A.
  JORDAN RICHARDS, PLLC                         2755 E. Oakland Park Blvd. Suite 225
  1800 SE 10th Ave, Suite 205                   Fort Lauderdale, Florida 33306
  Fort Lauderdale, Florida 33316                Ph: (305) 892-5454
  Ph: (954) 871-0050                            Fax: (954) 206-6955
  Co-Counsel for Plaintiff                      Co-Counsel for Plaintiff
  By: /s/ Jordan Richards                       By: /s/ Andrew Obeidy
  JORDAN RICHARDS, ESQUIRE                      ANDREW OBEIDY, ESQUIRE
  Florida Bar No. 108372                        Florida Bar No. 910341
  jordan@jordanrichardspllc.com                 andrew@obdlegal.com


                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the foregoing document was filed via CM/ECF on this 14th of

  June 2023.

                                                       By: /s/ Jordan Richards
                                                       JORDAN RICHARDS, ESQUIRE
                                                       Florida Bar No. 108372


                                    SERVICE LIST
  LOWELL J. KUVIN, ESQ.
  Florida bar No. 53072
  LAW OFFICE OF LOWELL J. KUVIN, LLC
  17 East Flagler Street, Suite 223
  Miami, Florida 33131
  Tel: (305) 358-6800
  Co-counsel for Defendants

  BRIAN H. POLLOCK, ESQUIRE
  Florida Bar No. 174742
  FAIRLAW FIRM
  135 San Lorenzo Ave.
  Suite 770
  Coral Gables, Florida 33146
  Tel: (305) 230-4884
  Co-counsel for Defendants




                                            2
